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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

                                                     §
    IN RE:                                           §       CASE NO: 17-12870
                                                     §
    REILLY-BENTON COMPANY, INC.,                     §       CHAPTER 7
                                                     §
    DEBTOR.                                          §       SECTION A
                                                     §

                                                  ORDER

           Before the Court is the ex parte Motion To File Exhibits Under Seal (the “Motion”), [ECF

   Doc. 242], filed by the Landry & Swarr Creditors.

           For the reasons stated in the Motion, the applicable law, other parties having received

   notice, and good cause existing,

           IT IS ORDERED that the Motion is GRANTED.

           IT IS FURTHER ORDERED that Exhibits 5, 6, 7, and 8 of Landry & Swarr’s Reply to

   Motion To Confirm Application of Automatic Stay, [ECF Doc. 241], are filed and will be

   maintained under seal.

           IT IS FURTHER ORDERED that Movant shall serve this Order on the required parties

   who will not receive a copy through the ECF system pursuant to the FRBP and the LBRs and file

   a certificate of service to that effect within three (3) days.

           New Orleans, Louisiana, September 12, 2022.



                                                          _____________________________________
                                                                  MEREDITH S. GRABILL
                                                           UNITED STATES BANKRUPTCY JUDGE
